

ORDER

PER CURIAM:
AND NOW, this 19th day of June, 2002, Scott Alan Westcott having been found to be severely mentally disabled and involuntarily committed by Order of the Court of Common Pleas of Allegheny County dated May 2, 2002, it is hereby ORDERED, pursuant to Rule 301(c), Pa.R.D.E., that he be transferred to inactive status effective immediately and for an indefinite period until further Order of this Court. Any pending disciplinary proceedings against Mr. Westcott shall be held in abeyance except for the perpetuation of testimony and the preservation of documentary evidence.
It is further ORDERED that the matter of the criminal conviction in the Court of Common Pleas of Allegheny County of driving under the influence of alcohol or controlled substance, false identification to law enforcement authorities and driving while operating privilege is suspended or revoked is referred to the Disciplinary Board pursuant to Rule 214(f)(1), Pa. R.D.E.
